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                                   United States District Court
                                    Western District of Texas
                                        Austin Division

 United States of America,
    Plaintiff,

    v.
                                                    Cause No. 1:08-CR-337-LY-1


  GEORGE LEWIS ESCAMILLA, SR.,
   Defendant.




                 United States’ Notice and Motion to Dismiss Mr. Escamilla’s
                             Motion for Compassionate Release


   The United States received the unfortunate news that Mr. Escamilla passed away this past

Friday as a result of an infection with COVID-19, exacerbated by underlying preexisting

conditions. Exhibit 1. Based on this information, the United States respectfully asks that the

Court dismiss the motion as moot. Counsel for Mr. Escamilla has indicated that his office will

file a separate motion with the Court.


                                                  Respectfully submitted,


                                                  John F. Bash
                                                  United States Attorney

                                           By:    /s/ Mark H. Marshall
                                                  Mark H. Marshall
                                                  Assistant United States Attorney
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                                     Certificate of Service

     I certify that on May 11, 2020, I electronically filed this document with the Clerk of Court
using the CM/ECF system. The CM/ECF system will send notification to the following CM/ECF
participant(s):

                                        Jose Gonzalez-Falla
                                 Assistant Federal Public Defender


                                                     /s/ Mark H. Marshall
                                                     Mark H. Marshall
                                                     Assistant United States Attorney
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                                  United States District Court
                                   Western District of Texas
                                       Austin Division

 United States of America,
    Plaintiff,

    v.                                                   Cause No. 1:08-CR-337-LY-1

 GEORGE LEWIS ESCAMILLA, SR.,
   Defendant.


                                             Order
   The Court, having considered the United States’ Notice and Motion to Dismiss Mr.

Escamilla’s Motion for Compassionate Release and all applicable law, finds that the reasons set

forth in the motion support the request, and the motion is GRANTED.

   The Defendant’s Motion for Compassionate Release is hereby Dismissed as Moot.


                                                _______________________________________
                                                Lee Yeakel
                                                United States District Judge
